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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI



IN RE:         KAREN MCDANIEL TODD,
               DEBTOR(S)
                                                                  CHAPTER 13 BANKRUPTCY
                                                                     CASE NO. 20-50110-KMS
DAVID RAWLINGS, TRUSTEE



                                  TRUSTEE’S RESPONSE TO
                                     MOTION TO SELL




         COMES NOW, the Chapter 13 Trustee, David Rawlings, by and through his attorney, and

files this Response to the Debtor’s Motion to Sell (Docket No. 61), and says that the Trustee has

no objection to the sale price; Trustee has no objection to the Debtor receiving her full homestead

exemption of $75,000, however, Debtor’s Schedule C only claimed $44,646.00 as her homestead

exemption; unless Schedule C is amended to claim the full homestead exemption, the Debtor may

only receive $44,646.00.

                                                     Respectfully submitted,

                                                     DAVID RAWLINGS, TRUSTEE

                                                     BY: /s/Samuel J. Duncan
                                                           Samuel J. Duncan,
                                                           His Attorney


Samuel J. Duncan
Attorney for Chapter 13 Trustee
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Hattiesburg, MS 39403-0566
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Miss. Bar No. 6234

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                                CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify that I have on this day forwarded a true and correct
copy of the foregoing Response, via the Court’s ecf filing system, to: the US Trustee, 501 East
Court Street, Suite 6-430, Jackson, Mississippi 39201; and TC Rollins Jr, PO Box 16767, Jackson,
MS 39236.

       So certified on this the 7th day of February, 2023.

                                                       /s/Samuel J. Duncan
                                                            Samuel J. Duncan




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